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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

AUGUSTYN WIACEK, individually and on
behalf of all others similarly situated,
                                                    Case No. 1:23-cv-04023
                        Plaintiff,
v.                                                  Judge Edmond E. Chang

MONDELEZ GLOBAL LLC, MONDELEZ                       Magistrate Judge Sheila M. Finnegan
INTERNATIONAL HOLDINGS LLC,
MONDELEZ INTERNATIONAL, INC., and
BRYAN CAVE LEIGHTON PAISNER LLP,

                        Defendants.


          NOTICE OF DISMISSAL WITHOUT PREJUDICE OF DEFENDANT
                    BRYAN CAVE LEIGHTON PAISNER LLP

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Augustyn

Wiacek hereby dismisses all claims and causes of action against Defendant BRYAN CAVE

LEIGHTON PAISNER LLP, without prejudice. All other Defendants are not dismissed and

remain parties to this Action.


Dated: June 29, 2023                    Respectfully submitted,

                                        By: /s/ Raina C. Borrelli
                                            Raina C. Borrelli
                                            Samuel J. Strauss
                                            Brittany Resch
                                            TURKE & STRAUSS LLP
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                                CERTIFICATE OF SERVICE

       I, Raina C. Borrelli, hereby certify that on June 29, 2023, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of

such filing to counsel of record via the ECF system.

DATED this 29th day of June, 2023.

                                         TURKE & STRAUSS LLP

                                         By: /s/ Raina C. Borrelli
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